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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

______________________________
In re: Arbitration Between     )
                               )
RAYMOND L. LOEWEN,             )
                               )
          Petitioner,          )
                               )
     v.                        )     Civil Action No. 04-2151 (RWR)
                               )
UNITED STATES OF AMERICA,      )
                               )
          Respondent.          )
                               )

                          MEMORANDUM OPINION

     Petitioner Raymond L. Loewen and the respondent United

States of America were parties to an arbitration proceeding under

the North American Free Trade Agreement (“NAFTA”).         Petitioner

now seeks to vacate the arbitration award pursuant to the Federal

Arbitration Act (“FAA”), 9 U.S.C. § 10 (2000).        The motion will

be denied and the petition will be dismissed because it is time-

barred under 9 U.S.C. § 12.

                              BACKGROUND

     In the prior arbitration proceeding, petitioner, a Canadian,

and The Loewen Group, Inc. (“TLGI”), a Canadian corporation,

alleged NAFTA claims stemming from a $500 million Mississippi

trial jury award adverse to petitioner and TLGI, and the

subsequent application of a state law requiring an appeal bond of

125 per cent.   Seeking $725 million in damages from the United

States, petitioner and TLGI submitted their respective NAFTA
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claims to arbitration governed by the International Centre for

the Settlement of Investment Disputes (“ICSID”) Additional

Facility (“AF”) Rules.    The tribunal dismissed the claims in

their entirety on jurisdictional grounds in an award dispatched

to the parties on June 26, 2003.      In pertinent part, the award

states:

     ORDERS

     For the following reasons the Tribunal unanimously
     decides –

            (1) That it lacks jurisdiction to determine
            TLGI’s claims under NAFTA concerning the
            decisions of the United States courts in
            consequence of TLGI’s assignment of those
            claims to a Canadian corporation owned and
            controlled by a United States corporation.

            (2) That it lacks jurisdiction to determine
            Raymond L. Loewen’s claims under NAFTA
            concerning decisions of the United States
            courts on the ground that it was not shown
            that he owned or controlled directly or
            indirectly TLGI when the claims were
            submitted to arbitration or after TLGI was
            reorganized under Chapter 11 of the United
            States Bankruptcy Code.

            (3) TLGI’s claims and Raymond L. Loewen’s are
            hereby dismissed in their entirety.

            (4) That each party shall bear its own costs,
            and shall bear equally the expenses of the
            Tribunal and the Secretariat.

Award, The Loewen Group, Inc. and Raymond L. Loewen v. United

States, ICSID Cases No. ARB(AF)/98/3/(June 26, 2003) (“Award”),

at 69-70.
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     After the award issued, the United States requested a

“supplementary decision” to “clarify [the tribunal’s June 26,

2003] unanimous [a]ward . . . in one minor respect,” because

“although the reasoning of the Tribunal’s Award disposes of all

the claims in the case – – and the operative part of the Award

dismisses the claims of both Claimants ‘in their entirety’ – –

the Award does not expressly recite its disposition of Raymond

Loewen’s [NAFTA] article 1116 claims.”       Resp.’s Req. for

Supplementary Decision, Aug. 11, 2003 (“Resp.’s Request”), at 1

(appended as Ex. 8 to Resp.’s Opp’n to Pet.’s Mot. to Vacate and

Remand Arbitration Award (“Resp.’s Opp’n”).)        Petitioner made a

submission advancing the argument, among others, that the

tribunal had failed to consider his article 1116 claim.         (See

Article 58 Submissions as to Raymond L. Loewen’s Article 1116

Claim, ¶¶ 2, 4 (appended as Ex. 9 to Resp.’s Opp’n).)         The

tribunal refused respondent’s request for a supplementary

decision because it had addressed and determined all claims

submitted.   See Decision, The Loewen Group, Inc. and Raymond L.

Loewen v. United States of America, ICSID Case No. ARB(AF)/98/3,

Aug. 17, 2004 (“Decision”), at 6 (“ORDERS (1) The request is

denied.”) (appended as Ex. 10 to Resp.’s Opp’n).        In explaining

its refusal, the tribunal stated that

     [T]he dismissal of all the claims ‘in their entirety’
     following the examination of the merits was necessarily
     a resolution of the article 1116 claim. That dismissal
     was a consequence of the reasoning expressed in paras
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     213-216. We therefore reject the argument that the
     Award did not deal with the art. 1116 claim.

Decision, ¶ 20.

     On December 13, 2004, Loewen instituted this action through

a petition to vacate and remand the arbitration award.

Petitioner argues that the tribunal engaged in “disturbing

misconduct” and showed a “manifest disregard for the law” because

it “never fairly and impartially heard and considered the

relevant evidence.”    (Pet.’s Mot. to Vacate and Remand

Arbitration Award (“Pet.’s Mot.”) at 37.)       Respondents argue that

the motion should not be considered because it is time-barred,

but that if it is considered, it should be denied on the merits.

(Resp.’s Opp’n at 18 - 44.)

                               DISCUSSION

     The FAA requires a petitioner to serve “[n]otice of a motion

to vacate . . . within three months after the award is filed or

delivered.”   9 U.S.C. § 12.    “There is no statutory exception to

this time limitation.”    Thyssen Carbometal Co. v. FAI Energy,

Ltd., Civil Action No. 89-1695 (JHG), 1990 U.S. Dist. Lexis 427,

*6 (Jan. 16, 1990 D.D.C.).     There is also no common law exception

to this time limitation.    See Florasynth, Inc. v. Pickholz, 750

F.2d 171, 175 (2d Cir. 1984).     Failure to move to vacate the

award within the three-month time period provided by the statute

precludes a party from later seeking that relief.        See id.
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     Petitioner served his notice of motion to vacate the award

on December 13, 2004, some eighteen months after the tribunal

delivered its award on June 26, 2003.       Petitioner does not

dispute that 9 U.S.C. § 12 requires him to act within three

months of the date of a final award.      Instead, he argues that the

June 26, 2003 award was not complete, i.e., not final for

purposes of moving to vacate it, until the tribunal responded to

the respondent’s request for a supplementary decision.         (See

Pet.’s Reply at 5-7.)    Petitioner asserts that “the U.S. request

. . . precluded Mr. Loewen from seeking to vacate the Award at

that time.”   (Pet.’s Mot. at 9 (emphasis added).)

     Petitioner’s position is inconsistent with the plain

language of the ICSID Rules, the FAA, and case law in this

district and elsewhere.    The relevant ICSID Rule provides that an

award “shall contain . . . the decision of the Tribunal on every

question submitted to it, together with the reasons upon which

the decision is based,” and “[t]he award shall be final and

binding on the parties.”    See ICSID AF Rules (appended as Ex. 2

to Pet.’s Reply), Art. 52.     The ICSID AF Rule on supplementary

decisions permits a party, within certain time limits, to

“request the Tribunal . . . to decide any question which it had

omitted to decide in the award,” and provides that any

supplementary decision of the tribunal “shall become part of the
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award.”     See ICSID AF Rules, Art. 57 (previously Art. 58).1

Thus, the ICSID AF Rules contemplate the possibility that a

submitted question is not answered by an award and provides a

corrective procedure.       If there is a supplementary decision – –

which is not the case here – – that decision supplements the

award, that is, “become[s] part of the award.”           Id.   The Rules do

not expressly provide, as they could have, that an award is final

and binding unless a party seeks a supplementary decision.               The

ICSID AF Rules, whether viewed individually or as a whole,

neither state nor imply that an already-filed award is rendered

not final by virtue of the fact that a party makes a request for

a supplementary decision.        Rather, the plain language of the

Rules states that an award is final and binding on the parties

when it issues.      See ICSID AF Rules, Art. 42.

     Case law on the finality of awards is consonant with this

interpretation of the ICSID Rules.         “Normally, an arbitral award

is deemed ‘final’ provided it evidences the arbitrators’

intention to resolve all claims submitted in the demand for

arbitration . . . .”       Fradella v. Petricca, 183 F.3d 17, 19 (1st

Cir. 1999); accord Am. Fed’n of Gov’t Employees AFL-CIO Local



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        Respondent’s request erroneously cites ICSID AF Art. 58
as the provision authorizing its request, when in fact, the ICSID
AF Rules had changed effective January 1, 2003, and the governing
provision at the time of the request was Art. 57. The language
of the new Art. 57 was identical to the language of the previous
Art. 58; only the number changed.
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3090 v. Fed. Labor Relations Auth., 777 F.2d 751, 755 (D.C. Cir.

1985) (noting that private sector labor arbitral awards are

deemed final “if they purport to resolve all aspects of the

dispute being arbitrated”).        Here, there can be no doubt that the

arbitrators intended the award to dispose of all claims.             The

award stated without qualification that “TLGI’s claims and

Raymond L. Loewen’s are dismissed in their entirety.”            Award

at 70.

     Petitioner’s argument recasting the operative date of an

award to a later date has been considered and rejected already in

this district.      In Thyssen Carbometal, respondent argued that for

purposes of the time limits imposed on a notice of motion to

vacate an arbitral award, an award should be “deemed issued . . .

[as of] the day that the arbitrators reaffirmed their award

pursuant to . . . [respondent’s] motion for clarification,

reconsideration, and modification” rather than the date on which

the award was first delivered.        1990 U.S. Dist. Lexis 427, *6.

The respondent argued that “its filing of the application to

modify or correct means that the decision of the arbitrators was

not final for the purposes of the 90-day limits.”           Id. at *7.

The court found that the argument lacked merit and denied

respondent’s motion to vacate as untimely.          Id. at *7, 10.

     Petitioner’s position, if accepted, would establish a rule

permitting any party to render an award incomplete or non-final
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by the mere act of requesting a supplementary decision or a

clarification “in one minor respect.”       Resp.’s Req. at 1.

Petitioner cites no case law to support his position and the

court is aware of none.    Other courts have reached the opposite

conclusion.   “[A] party moving for reconsideration of an

arbitration award [does not] toll the running of the limitations

period.”   Int’l Ass’n of Bridge Structural & Ornamental Iron

Workers Shopmen’s Local Union 501 v. Burtman Iron Works, Inc.,

928 F. Supp. 83, 86-87 (D. Mass. 1986) (citing Dreis & Kemp Mfg.

Co. v. Int’l Ass’n of Machinists & Aerospace Workers, 802 F.2d

247, 250 (7th Cir. 1986)).     This must be so, because

     if the limitations period prescribed in [9 U.S.C.] § 12
     were subject to suspension simply because an arbitral
     award contained an error, even though the arbitrators
     had intended to resolve all submitted “claims,” an
     unsuccessful party could preclude the commencement – –
     or suspend the running – – of the limitations period
     simply by alleging subsidiary errors in their [9
     U.S.C.] § 10 motions to vacate an adverse arbitral
     award. Thus, the contention that mere error – –
     whether ministerial, procedural, or substantive – –
     renders an arbitral award non-“final” is fatally
     flawed.


Fradella, 183 F.3d at 20 (emphasis in the original).         Nor does

“an application to modify or clarify an arbitral award toll[] the

FAA § 12 limitations period.”     Id.

                              CONCLUSION

     The ICSID AF Rules specify that an award is final and

binding on the parties when it is dispatched and the award
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dispatched on June 26, 2003 evidenced the arbitrators’ intention

that the award was final.     The FAA allows a party only three

months after an award is delivered to file a notice of motion to

vacate.    Because the petitioner did not serve a notice of motion

to vacate by September 26, 2003, petitioner’s motion is now time-

barred.    Accordingly, petitioner’s motion will be denied and the

petition dismissed.    An final order accompanies this Memorandum

Opinion.

     SIGNED this 31st day of October, 2005.


                                                 /s/
                                        RICHARD W. ROBERTS
                                        United States District Judge
